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                                                  March 5, 2025


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60 Pierce Drive                                                Principal
Augusta, ME 04330                                              Greely High School
kimberly.silsby@augustaschools.org                             303 Main St.
                                                               Cumberland, ME 04021

Re: Amended Notice of Compliance Review (OCR Transaction Number: DO-25-610531-RV-
CRR State of Maine)


Dear Counsel:

On February 21, 2025, the U.S. Department of Health and Human Services’ (HHS) Office for
Civil Rights (OCR) initiated a compliance review of the Maine Department of Education (MDOE)
based upon reports that the Maine Principal’s Association (MPA), which governs high school
sports in the state, will continue to allow male athletes to compete in female sports (i.e., sports
where male and female athletes compete separately) in violation of President Trump’s Executive
Order (EO) 14201, “Keeping Men Out of Women’s Sports,” signed on February 5, 202,5 under
Title IX of the Education Amendments of 1972. 1 These reports were further confirmed by a
statement issued by the Governor’s office on February 21, 2025.

We are in receipt of the State of Maine’s response to our correspondence of February 21, 25, and
27, 2025. We write now to amend our February 21, 2025, Notice of Compliance Review to add
MPA and Greely High School to the investigation. The MPA Division of Interscholastic Activities
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    20 U.S.C. §1681 et seq., as implemented by HHS at 45 C.F.R. Part 86.
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is responsible for organizing and conducting interscholastic athletic activities for all public and
some private high schools throughout Maine. In May 2024, MPA updated its Handbook to include
a new Gender Identity Participation Policy that permits student athletes to participate in MPA
sponsored interscholastic athletics as the gender that they identify with, rather than their birth sex.

Greely High School is a public high school that is a member of the MPA Division of Interscholastic
Athletics and competes against other public and private high schools under the Interscholastic
Division Bylaws, including the Gender Identity Participation Policy, created and enforced by
MPA. On February 17, 2025, a male student athlete competed for Greely High School in the girls’
pole vault event at the Class B state indoor championship meet. The student athlete won the girls’
pole vault event.

OCR enforces Title IX, which prohibits discrimination on the basis of sex in any educational
program or activity that receives Federal financial assistance. OCR ensures compliance through
enforcement activities and periodic reviews of HHS-funded institutions such as MDOE. MDOE
receives millions of dollars of taxpayer money. It may not accept that funding if it is in violation
of the federal civil rights laws.

As a recipient of Federal financial assistance, MDOE is obligated to comply with Title IX, which
means Federally funded educational institutions cannot deny women and girls an equal opportunity
to participate in sports. Although Maine claims “MDOE is not responsible for interscholastic youth
sports or athletic programs in Maine,” it distributes funds for staff salaries, school facilities, and
transportation, which in turn support athletics and interscholastic competition. The fact that MDOE
has ceded control over its activities to MPA does not limit its obligations under Title IX.

MPA must also comply with Title IX. Although MPA is a private nonprofit organization, its
authority to promote, organize, and regulate interscholastic activities in the state of Maine on
behalf of MDOE 2 requires it to comply with Title IX. MDOE has ceded control of high school
interscholastic sports competition to MPA, which assumes control of “all interscholastic
tournaments, meets or other forms of competition” for its members, including all public high
schools. By assuming control over interscholastic competition, MPA is subject to Title IX in the
same way MDOE would be. See A.B. v. Haw. State Dep’t of Educ., 386 F. Supp. 3d 1352, 1357-
58 (D. Haw. 2019) (finding high school athletic association had controlling authority over many
aspects of the DOE’s interscholastic athletic programs and was subject to Title IX, independent of
funding source); see also Williams v. Bd. of Regents of Univ. Sys. of Ga., 477 F.3d 1282, 1294
(11th Cir. 2007) (“[I]f we allowed funding recipients to cede control over their programs to indirect
funding recipients but did not hold indirect funding recipients liable for Title IX violations, we
would allow funding recipients to ... avoid Title IX liability”); Horner v. Ky. High Sch. Athletic
Ass’n, 43 F.3d 265, 271-72 (6th Cir. 1994) (because Kentucky’s state laws conferred authority to
the Kentucky State Board of Education and Kentucky High School Athletic Association to control
certain activities for the federally funded Kentucky Department of Education, both entities were
subject to Title IX); Communities for Equity v. Michigan High Sch. Athletic Ass’n, 80 F. Supp. 2d
729, 735 (W.D. Mich. 2000) (holding that an athletic association that “does not receive any direct
assistance from the federal government,” and “receives the bulk of its funding from gate receipts

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    MPA Information – Maine Principal’s Association (MPA) (ME)


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generated at MHSAA-sponsored tournaments” was still covered under Title IX, reasoning that
“any entity that exercises controlling authority over a federally funded program is subject to Title
IX, regardless of whether that entity is itself a recipient of federal aid”). Finally, upon information
and belief, Greely High School is a subrecipient of HHS Federal financial assistance through
MDOE, and therefore must also comply with Title IX.

OCR has authority to conduct periodic compliance reviews of recipients’ practices to determine
whether they are complying with Title IX. 45 C.F.R. § 80.7(a) (incorporated by reference at 45
C.F.R. § 86.71).

As stated in section 1 of EO 14201, under Title IX, “educational institutions receiving Federal
funds cannot deny women an equal opportunity to participate in sports. As some Federal courts
have recognized, ‘ignoring fundamental biological truths between the two sexes deprives women
and girls of meaningful access to educational facilities.’ Tennessee v. Cardona, 24-cv-00072 at 73
(E.D. Ky. 2024). See also Kansas v. U.S. Dept. of Education, 24-cv-04041 at 23 (D. Kan. 2024)
(highlighting ‘Congress’ goals of protecting biological women in education’).”

It is no answer for MDOE, MPA, and Greely to assert that EO 14201 conflicts with state law, as
Federal laws preempt conflicting state laws. See U.S. Const. art. 6, cl. 2.

Please be advised that federal regulations prohibit covered entities from harassing, intimidating,
or retaliating against individuals who participate in OCR investigations or compliance reviews.
Any such action may constitute a violation of 45 C.F.R. § 80.7(e) (incorporated by reference at
45 C.F.R. § 86.71). We request that you take all necessary steps to assure compliance with this
prohibition.

If you have questions, you may contact Daniel Shieh, Associate Deputy Director, at
Daniel.Shieh@hhs.gov.

                                               Sincerely,




                                               Anthony F. Archeval
                                               Acting Director
                                               HHS, Office for Civil Rights




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